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                               UNITED STATES JUDICIAL PANEL
                                            on
                                MULTIDISTRICT LITIGATION



IN RE: DAIRY FARMERS OF AMERICA, INC.,
CHEESE ANTITRUST LITIGATION                                                              MDL No. 2031



                                   (SEE ATTACHED SCHEDULE)



                         CONDITIONAL TRANSFER ORDER (CTO−2)



On June 15, 2009, the Panel transferred 1 civil action(s) to the United States District Court for the
Northern District of Illinois for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. §1407. See 626 F.Supp.2d 1348 (J.P.M.L. 2009). Since that time, 1 additional action(s) have
been transferred to the Northern District of Illinois. With the consent of that court, all such actions
have been assigned to the Honorable William J Hibbler.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Illinois and assigned to
Judge Hibbler.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. §1407 to the
Northern District of Illinois for the reasons stated in the order of June 15, 2009, and, with the
consent of that court, assigned to the Honorable William J Hibbler.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Illinois. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                     FOR THE PANEL:



                                                     Jeffery N. Lüthi
                                                     Clerk of the Panel
